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                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                            CRIMINAL ACTION
VERSUS
                                                            NO. 06-017-BAJ-DLD
TOMMY WALTERS
                                      RULING

      This matter is before the Court on a motion by defendant, Tommy Walters, to

vacate, set aside or correct pursuant to 28 U.S.C. § 2255 (doc. 900), and upon a

letter submitted by defendant, in which he requests the appointment of counsel (doc.

952). The government has filed an opposition to the motion to vacate (doc. 914), the

defendant has replied to the opposition (doc. 915); and the Magistrate Judge

submitted a Report and Recommendation on March 15, 2012 (doc. 941).

      The Court first considers defendant’s request for appointment of counsel.

Under Rule 8(c) of the Rules Governing § 2255 Cases, the appointment of counsel

for a petitioner who is financially eligible for appointment of counsel is mandatory in

a federal habeas case only when the Court orders an evidentiary hearing. See, e.g.,

United States v. Vasquez, 7 F.3d 81 (5th Cir. 1993). Rule 8(c) further provides that

the authority of the Court to appoint counsel under 18 U.S.C. § 3006A is not

otherwise limited and, under that section, a Court may appoint counsel to a person

seeking relief under 28 U.S.C. § 2255 “if the interest of justice so requires”.

Accordingly, the appointment of counsel to a habeas petitioner in the absence of an

evidentiary hearing is a matter that lies within the discretion of the Court. See United

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States v. Moore, 29 F.3d 623 (5th Cir. 1994), citing Chaney v. Lewis, 801 F.2d 1191

(9th Cir. 1986), cert. denied, 481 U.S. 1023, 107 S.Ct. 1911, 95 L.Ed.2d 516 (1987).

      The Court has carefully considered the law applicable to the action and the

record of this matter, including, but not limited to, the motion to vacate (doc. 100),

the opposition to the motion (doc. 914), the reply to the opposition (doc. 915), and

the Report and Recommendation of the Magistrate Judge, dated March 15, 2012

(doc. 941). In the instant case, it does not appear from the Court’s review of the

record, at least at the present time, that an evidentiary hearing will be necessary to

address the petitioner’s claims and, accordingly, it does not appear that appointment

of counsel is mandatory herein. Further, assuming arguendo that the petitioner is

financially eligible for appointment of counsel under 18 U.S.C. § 3006A, the Court

does not find that the interests of justice require that the Court appoint counsel in this

case. The issues raised do not appear to be unusually complex, and the petitioner’s

pro se pleadings have adequately highlighted the relevant issues and pertinent facts

in the record. Additional briefing by counsel would not significantly assist the Court

in addressing the issues raised herein. Under these circumstances, appointment of

counsel would not be an efficient use of judicial resources and, therefore, would not

serve the interests of justice. See, e.g., Self v. Blackburn, 751 F.2d 789 (5th Cir.

1985) (appointment of counsel on appeal is not in the interests of justice where

supplemental briefing by counsel would not assist the court); Schwander v.

Blackburn, 750 F.2d 494 (5th Cir. 1985) (appointment of counsel on appeal is not in



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the interests of justice where the petitioner’s pro se brief adequately highlights the

issues and facts pertinent thereto).

      Accordingly, defendant’s request for appointment of counsel, shall be denied.

      As is noted supra, the Court has carefully considered the law applicable to the

action and the record of this matter, including, but not limited to, the motion to vacate

(doc. 100), the opposition to the motion (doc. 914), the reply to the opposition (doc.

915), and the Report and Recommendation of the Magistrate Judge, dated March

15, 2012 (doc. 941). Having done so, the Court hereby approves the Report and

Recommendation of the Magistrate Judge, and adopts it as the Court’s own opinion

herein.

                                    CONCLUSION

      Accordingly, the request of defendant, Tommy Walker, for appointment of

counsel is DENIED, and the motion by defendant to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. §2255 is DISMISSED, without prejudice, and IT IS

ORDERED that the Clerk of Court re-enter defendant’s original criminal Judgment

in this case. Defendant will, thereafter, have the time allowed by Federal Rule of

Appellate Procedure 4(b)(1)(A)(I) to file a Notice of Appeal from that Judgment.

      Baton Rouge, Louisiana, May 4, 2012.




                                               BRIAN A. JACKSON
                                               UNITED STATES DISTRICT JUDGE
                                               MIDDLE DISTRICT OF LOUISIANA

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